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  1 GREENFIELD & GOODMAN, LLC
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  4 Telephone: (917) 495-4446
  5 Attorneys for Plaintiff
  6                      UNITED STATES DISTRICT COURT
  7              FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  8
                                  )
  9 R.L. HIRSCH Individually and on
                                  )
    Behalf of EDISON              )                 Civil No.
 10 INTERNATIONAL,                )
                                  )                 14-cv-3038 (DMS) (RBB)
 11              Plaintiff,       )
                                  )
 12        vs.                    )
                                  )
 13   THEODORE F. CRAVER, JR.;    )
      JAGJEET S. BINDRA; BRADFORD )
 14   M. FREEMAN; M. BRETT WHITE; )
      THOMAS C. SUTTON; LINDA G.  )
 15   STUNTZ; RICHARD T.          )
      SCHLOSBERG, III; PETER J.   )
 16   TAYLOR; LUIS G. NOGALES;    )
      VANESSA C. L. CHANG;
      ELLEN TAUSCHER; WILLIAM     )
 17   JAMES SCILACCI, JR.; DWIGHT )
      E. NUNN and RONALD L.       )
 18   LITZINGER.et al.            )
                                  )
 19              Defendants,      )
                                  )
 20                               )
                      -and-       )
 21                               )
                                  )
 22       EDISON INTERNATIONAL,   )
                                  )
 23                               )
               Nominal Defendant. )
 24
 25               NOTICE OF DISMISSAL OF DEFENDANT NUNN

 26        Plaintiff hereby files this notice of dismissal without prejudice from the

 27 above-entitled action as to Defendant Dwight E. Nunn. This notice is the first
 28 dismissal filed by Plaintiff based upon or including the same claims against
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  1 Defendant Nunn. No answer or motion has been served upon Plaintiff by
  2 Defendant Nunn as of the date of this notice.
  3
  4                                        Respectfully submitted,
  5
      DATED: January 21, 2015              GREENFIELD & GOODMAN, LLC
  6
  7
                                           By: /s/ Ilene Freier Brookler    __________
  8                                                 Ilene Freier Brookler
  9                                       Attorneys for Plaintiff
 10
                                  PROOF OF SERVICE
 11
      I am employed in Los Angeles, CA, am over the age of eighteen (18) years old and
 12
 13 am not a party to the within action; my business address is 3162 Beverly Blvd, Los
 14
      Angeles, CA 90036. On January 21, 2015, I served the following
 15
 16 Notice of Dismissal of Defendant Nunn
 17
    electronically on the Court's CM/ECF filing system, and emailed Kevin S. Allfred,
 18
 19 of Munger, Tolles & Olson LLP, the attorney representing the appearing
 20 Defendants in this action, at kevin.allred@mto.com.
 21
 22
 23                                         /s/ Ilene Freier Brookler __________
                                                    Ilene Freier Brookler
 24
 25
 26
 27
 28
                                             2
